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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                       MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                       Case No. C-07-5944 JST

                                   9                                                       ORDER TO SHOW CAUSE ON THE
                                        This Order Relates To:                             NEED FOR SUPPLEMENTAL
                                  10                                                       BRIEFING REGARDING MOTIONS
                                                                                           RELYING UPON THE FTAIA
                                  11    ALL DIRECT ACTION PLAINTIFFS
                                  12
Northern District of California
 United States District Court




                                  13          Currently pending before the Court are several motions for summary judgment relating to

                                  14   the Foreign Trade Antitrust Improvement Act (“FTAIA”). The Court notes that many motions

                                  15   relating to the FTAIA discuss at length a decision from the Seventh Circuit, Motorola Mobility

                                  16   LLC v. AU Optronics Corp., No. 14-8003, 2014 WL 6678622 (7th Cir. Nov 26, 2014), and a

                                  17   decision from the Ninth Circuit, United States v. Hui Hsiung, 758 F.3d 1074 (July 10, 2014).

                                  18   After briefing began but before many reply briefs were due, the Seventh Circuit issued an

                                  19   amended opinion in Motorola, 775 F.3d 816, 819 (7th Cir. Jan 12, 2015) (Posner, J.) cert. denied,

                                  20   135 S. Ct. 2837 (June 15, 2015). After several of the reply briefs were due, the Ninth Circuit

                                  21   issued an amended order in Hui Hsiung, 778 F.3d 738 (9th Cir. Jan 30, 2015) cert. denied, 135 S.

                                  22   Ct. 2837 (June 15, 2015).

                                  23          The Court is now considering whether to order supplemental briefing from the Direct

                                  24   Action Plaintiffs (“DAPs”) and related Defendants regarding the foregoing developments.

                                  25   Briefing would be strictly limited to a discussion of the effect of the amendments to the two

                                  26   above-cited opinions on any of the DAPs’ arguments in the FTAIA-related motions, and would

                                  27   not include any discussion of whether this transferee court should rule on cases subject to remand

                                  28   for trial. Briefing would consist of two briefs, each limited to twelve pages of text (with no
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                                   1   exhibits), one jointly filed by all DAPs and one jointly filed by all related Defendants. The briefs

                                   2   would be due simultaneously.

                                   3          The Court would like the parties’ input regarding the utility of supplemental briefing.

                                   4   Accordingly, the Court now ORDERS the parties to SHOW CAUSE why the Court should not

                                   5   order such briefing. The sole question is whether the parties believe that such briefing would be

                                   6   helpful to the Court.1

                                   7          All responses to this order to show cause are due no later than seven days from the date of

                                   8   this order. Responses should be not more than two pages of text, should not argue the substance

                                   9   of the underlying issue, and should be consolidated among the parties to the extent practicable.

                                  10   No party will be allowed to respond to any other party’s response to this order to show cause

                                  11   without leave of court. No party is required to file a response to this order to show cause; if no

                                  12   party files a response, the Court will decide for itself whether supplemental briefing would be
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                                  13   useful. Any party requesting that the Court order supplemental briefing should also propose a

                                  14   (hopefully stipulated) deadline for the submission of such briefing.

                                  15          The parties should not infer from the issuance of this order that a decision regarding the

                                  16   FTAIA summary judgment motions is imminent. The Court is unlikely to decide those motions

                                  17   without first (1) hearing oral argument on the motions, and (2) determining whether to approve the

                                  18   pending settlements in the Indirect Purchaser Plaintiff actions.2

                                  19          IT IS SO ORDERED.

                                  20   Dated: December 2, 2015
                                                                                        ______________________________________
                                  21
                                                                                                      JON S. TIGAR
                                  22                                                            United States District Judge

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                                         The Court will not now entertain requests to allow separate briefs filed by each party or multiple
                                  27   sets of briefs, but may order such briefing if the Court later concludes it would be helpful.
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                                         See also ECF No. 4192 at 15 (“The defendants involved in the fairness hearings therefore request
                                  28   this Court to delay issuing its rulings on the summary judgment motions until after both hearings
                                       are completed.”).
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